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                                                                       USDC-SDNY
                                                                       DOCUMENT
UNITED STATES DISTRICT COURT                                           ELECTRONICALLY FILED
SOUTHERN DISTRICT OF NEW YORK                                          DOC#:
-----------------------------------------------------------X           DATE FILED: 10/19/2020
                                                           :
KATHERINE SHIMANOVSKY, individually :
and on behalf of all others similarly situated, :
,                                                          :
                                                           :            No. 20-CV-3588 (RA)
                                         Plaintiff,        :
                                                           :
                           -v-                             :                  ORDER
                                                           :
S.C. JOHNSON & SON, INC.,                                  :
                                         Defendant.        :
                                                           X
----------------------------------------------------------

RONNIE ABRAMS, United States District Judge:

         On September 8, 2020 Defendant S.C. Johnson & So, Inc. filed a motion to dismiss the

Complaint under Federal Rules of Civil Procedure 12(b)(1) and 12(b)(6). On September 18,

2020, the Court granted Plaintiff Katherine Shimanovksy’s request for an extension of time to

file an amended complaint. On October 16, 2020, Ms. Shimanovsky timely filed an amended

complaint. Accordingly, Defendant’s motion to dismiss filed on September 8, 2020 is denied as

moot. The Clerk of Court is respectfully requested to close the motion at docket number

fourteen (14).




SO ORDERED.

Dated:            October 19, 2020
                  New York, New York

                                                               ________________________________
                                                               Ronnie Abrams
                                                               United States District Judge
